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                Exhibit A
                                                                  Mass Demonstration Response Recommendation Tracker                                                                                                                                                                                                                     As of 3/17/2021
                                                                                                                                                                                                                                                                               EXTERNAL
                                                                                        Overview                                                                       Report Recommendation                                                                                                                                 Status             Source
                                                                                                                                                                                                                                                                     Progress/ Proposed Next Steps
                                                                                                                      NYPD should draft a Patrol Guide policy specific to policing protests and protected First Amendment activity.              Policies around policing protests and disorder control are being
                                                                  Patrol Guide policy on Protests and First Amendment                                                                                                                                                                                                                    DOI Mass
                                                            1                                                         NYPD should consult on this policy with individuals and entities outside of the Department, including civil rights         reviewed regarding First Amendment rights, and a new policy is            In Progress
                                                                  Activity                                                                                                                                                                                                                                                               Demonstration Report
                                                                                                                      attorneys, community organizations, and police reform experts.                                                             being drafted.
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                                                                                                                         NYPD should create a new Protest Response Unit, that does not report to Strategic Response Group, to lead the
                                                                                                                                                                                                                                       NYPD has evaluated existing operational units and is updating                                     DOI Mass
                                                            2 Create a Protest Response Unit                             planning and strategy for response to large protests, to collaborate with the Community Affairs Bureau on                                                                                         In Progress
                                                                                                                                                                                                                                       organizational structure for a protest response group.                                            Demonstration Report
                                                                                                                         community engagement, and to coordinate with other divisions, borough commands, and precincts on response.
                                                                                                                      NYPD should reevaluate the central role of the Strategic Response Group and Disorder Control Unit in response to
                                                                  Reevaluate the role of the Strategic Response Group                                                                                                                  NYPD is evaluating current responsibilities of SRG and conducting                                 DOI Mass
                                                            3                                                         large protests given their orientation to handle counterterrorism, riots, and other serious threats, and better                                                                                      In Progress
                                                                  and Disorder Control Unit                                                                                                                                            research into other jurisdictions.                                                                Demonstration Report
                                                                                                                      calibrate their use to circumstances that require such specialized force.
                                                                                                                         NYPD should create internal written records explaining the reasons and documenting authorization for                    NYPD is reviewing current procedures related to the deployment of
                                                                  Document reasons and authority for deploying SRG,                                                                                                                                                                                                                      DOI Mass
                                                            4                                                            deployment of the Strategic Response Group, Disorder Control Unit, and other specialized units for disorder             specialized units at protests and documenting reasons for such            In Progress
                                                                  DisCon, and other specialized units                                                                                                                                                                                                                                    Demonstration Report
                                                                                                                         control purposes at protests.                                                                                           deployments.
                                                                                                                         To the extent NYPD deems the assignment of specialized units or officers in “riot gear” or “hard uniforms”
                                                                  Develop approach for staging officers in "riot gear"                                                                                                                         NYPD is reviewing relevant policies and operational guidelines                            DOI Mass
                                                            5                                                            potentially necessary to a protest response, it should stage those officers in nearby areas not visible to protesters                                                                             In Progress
                                                                  out of sight until necessary                                                                                                                                                 surrounding uniforms and equipment.                                                       Demonstration Report
                                                                                                                         for deployment only if necessary.
                                                                  Develop policy on limitations of Disorder Control      NYPD should develop a written policy outlining reasonable limitations on the use of disorder control tactics, such NYPD is reviewing existing policies surrounding disorder control                             DOI Mass
                                                            6                                                                                                                                                                                                                                                              In Progress
                                                                  Tactics                                                as encirclement and mass arrests, specific to their use at First Amendment‐protected protests.                     tactics and is drafting new policy as needed.                                                Demonstration Report
                                                                                                                         Through both training and policies, NYPD should expand incorporation of differentiation methods into their              NYPD is assessing existing training curricula for recruits, in‐service,
                                                                  Expand training and policy to differentiate between                                                                                                                                                                                                                    DOI Mass
                                                            7                                                            protest policing to reduce reliance on indiscriminate enforcement approaches that fail to distinguish between           and leadership in order to develop new content related to protests,       In Progress
                                                                  violent and peaceful protests                                                                                                                                                                                                                                          Demonstration Report
                                                                                                                         those engaged in peaceful First Amendment activity and those engaged in violence or property destruction.               first amendment activity, and de‐escalation/crowd psychology.
                                                                                                                         NYPD should employ standardized daily messages or instructions for use by commanders and supervisors during
                                                                  Standardize internal communications regarding                                                                                                                                  The NYPD is drafting guidelines and instruction on appropriate                          DOI Mass
                                                            8                                                            roll calls or briefings involving officers responding to protests, including guidance about the constitutional rights                                                                             In Progress
                                                                  protests                                                                                                                                                                       enforcement actions at the scene of a protest.                                          Demonstration Report
                                                                                                                         of protesters and the objectives of the response.
                                                                                                                                                                                                                                                 The practice of playing the LRAD warning three times has already
                                                                                                                         NYPD should play any LRAD dispersal orders or warnings at least three times from multiple locations at large                                                                                                    DOI Mass
                                                            9 LRAD: Deployment Standards                                                                                                                                                         been put into practice; memorialization in relevant procedures is in      Complete
                                                                                                                         protests and events, unless emergency circumstances do not permit.                                                                                                                                              Demonstration Report
                                                                                                                                                                                                                                                 progress.
                       Draft: Pre‐decisional and deliberative
                       *Futher recommendations from the Law Department are currently being assessed by the NYPD.                                                                                                                                                                                                                                            Page 1 of 3
                                                                  Mass Demonstration Response Recommendation Tracker                                                                                                                                                                                                                 As of 3/17/2021
                                                                                                                                                                                                                                                                           EXTERNAL
                                                                                        Overview                                                                     Report Recommendation                                                                                                                               Status             Source
                                                                                                                                                                                                                                                                 Progress/ Proposed Next Steps
                                                                                                                        NYPD should audio or video record LRAD dispersal orders or warnings when made at protests both from a                The practice of recording the LRAD warning has already been put into                    DOI Mass
                                                 10 LRAD: Documenting deployment                                                                                                                                                                                                                                       Complete
                                                                                                                        location near the device and, if practicable, a location near protesters at the furthest distance from the device.   practice; memorialization in relevant procedures is in progress.                        Demonstration Report
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                                                                                                                                                                                                                                             NYPD is assessing existing training curricula for recruits, in‐service,
                                                                                                                        NYPD should consider expansion of instruction on de‐escalation and crowd psychology in training relating to                                                                                                  DOI Mass
                                                 11 Expand de‐escalation and crowd psychology training                                                                                                                                       and leadership in order to develop new content related to protests,       In Progress
                                                                                                                        policing protests.                                                                                                                                                                                           Demonstration Report
                                                                                                                                                                                                                                             first amendment activity, and de‐escalation/crowd psychology.
                                                                  Involve Community Affairs Bureau in development of NYPD should involve the Community Affairs Bureau in the development and presentation of training related to             The Community Affairs Bureau is regularly included in reviewing and                     DOI Mass
                                                 12                                                                                                                                                                                                                                                                    Complete
                                                                  protest‐related trainings                          policing protests.                                                                                                      providing feedback and guidance on training content.                                    Demonstration Report
                                                                                                                        NYPD should consult with community organizations and issue‐ advocacy groups on the content of protest policing
                                                                  Engage community organizations and advocacy                                                                                                                          NYPD is assessing existing training curricula for opportunities to                            DOI Mass
                                                 13                                                                     training and consider inviting civilians with relevant experience organizing protests or other First Amendment                                                                                 In Progress
                                                                  groups to develop content of protest‐related training                                                                                                                include community partners in protest‐related trainings.                                      Demonstration Report
                                                                                                                        events to participate in such training.
                                                                                                                                                                                                                                             NYPD re‐trained thousands of UMOS on disorder control tactics in
                                                                                                                        NYPD should complete the deployment of its new training to officers as soon as possible to ensure that officers                                                                                              DOI Mass
                                                 14 Deploy new protest‐related trainings                                                                                                                                                     the Summer/Fall of 2020. Once new trainings have been developed           In Progress
                                                                                                                        deployed to police protests have received recent and consistent training.                                                                                                                                    Demonstration Report
                                                                                                                                                                                                                                             (per #13 above), NYPD will train all uniformed members of service.
                                                                  Involve Chief of Community affairs in protest‐related NYPD should ensure that the Chief of the Community Affairs Bureau is involved in discussions and decisions           The Chief of Community Affairs is participating in the review and                       DOI Mass
                                                 15                                                                                                                                                                                                                                                                    Complete
                                                                  discussions/strategy                                  regarding the planning and strategy for policing large protests.                                                     discussions surrounding strategy for protest activity.                                  Demonstration Report
                                                                                                                        NYPD should formalize the use of Community Affairs Bureau officers and individual precinct Community Affairs         NYPD has implemented this use of Community Affairs officers in                          DOI Mass
                                                 16 Formalize use of CAB officers in protest response                                                                                                                                                                                                                  Complete
                                                                                                                        officers in response to large‐scale protests.                                                                        practice, memorialization in relevant procedures is in progress.                        Demonstration Report
                                                                                                                                                                                                                                        NYPD has implemented guidelines for use of Community Affairs
                                                                                                                        NYPD should require that the use of Community Affairs officers during protests be solely in a community affairs
                                                                                                                                                                                                                                        officers, memorialization in relevant procedures is in progress.
                                                    Limit use of CAB officers in patrol/enforcement                     capacity and separate them from any patrol or enforcement functions, unless their alternative use is necessary                                                                                               DOI Mass
                                                 17                                                                                                                                                                                                                                                                    Complete
                                                    functions during protests                                           due to an emergency, absence of other available personnel when immediate public safety or officer safety needs                                                                                               Demonstration Report
                                                                                                                                                                                                                                             Community Affairs officers at protests will not be assigned
                                                                                                                        arise, or other compelling reasons.
                                                                                                                                                                                                                                             patrol/enforcement functions except in exceptional circumstances
                                                                                                                                                                                                                                             The NYPD is drafting guidelines on appropriate enforcement actions
                                                                                                                        NYPD should enhance and expand its public communication during protests, including additional use of social          at the scene of a protest.
                                                                                                                                                                                                                                                                                                                                     DOI Mass
                                                 18 Enhance public communications during protests                       media; such communications should balance concerns about the First Amendment rights of protesters, officer                                                                                     In Progress
                                                                                                                                                                                                                                                                                                                                     Demonstration Report
                                                                                                                        and public safety, and police‐community relations.                                                                   Public communications practices are being reviewed to identify ways
                                                                                                                                                                                                                                             to enhance communications during protests.
                       Draft: Pre‐decisional and deliberative
                       *Futher recommendations from the Law Department are currently being assessed by the NYPD.                                                                                                                                                                                                                                        Page 2 of 3
                                                                  Mass Demonstration Response Recommendation Tracker                                                                                                                                                                                                           As of 3/17/2021
                                                                                                                                                                                                                                                                        EXTERNAL
                                                                                         Overview                                                                     Report Recommendation                                                                                                                        Status             Source
                                                                                                                                                                                                                                                              Progress/ Proposed Next Steps
                                                                                                                          NYPD should establish data collection procedures to reliably track complete, relevant protest data, including but NYPD is reviewing existing data collection procedures for purposes
                                                                  Establish data collection procedures specific to                                                                                                                                                                                                             DOI Mass
                                                 19                                                                       not limited to arrest data. These procedures may include mechanisms for officers to designate arrests as relating of transparency to the public and oversight agencies, in line with   In Progress
                                                                  protests                                                                                                                                                                                                                                                     Demonstration Report
                                                                                                                          to protest activity and enter such information into NYPD databases accordingly.                                   Handschu guidelines.
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                                                                                                                     To promote transparency around NYPD policing of protests, NYPD should report to the public regarding its
                                                                  Publish responses to DOI recommendations within 90                                                                                                                       NYPD will provide regular public updates via this document as it                    DOI Mass
                                                 20                                                                  responses to these recommendations and any additional changes or plans relating to policing of future protests                                                                              Complete
                                                                  days                                                                                                                                                                     implements the recommendations.                                                     Demonstration Report
                                                                                                                     within 90 days.
                                                                                                                          To streamline and strengthen external oversight of the NYPD, and to promote accountability and trust in law      The City has committed to consolidate the Commission to Combat
                                          Consolidate existing police oversight into single                               enforcement, DOI makes the following recommendations:                                                            Police Corruption and the NYPD Office of the Inspector General                      DOI Mass
                                      21a                                                                                                                                                                                                                                                                        In Progress
                                          agency                                                                          1. The Mayor and City Council should consider consolidating existing police oversight functions into a single    under the Civilian Complaint Review Board in order to strengthen                    Demonstration Report
                                                                                                                          agency, headed by an independent board.                                                                          police oversight. A consolidation plan is in development.
                                                                                                                          To streamline and strengthen external oversight of the NYPD, and to promote accountability and trust in law
                                                                                                                          enforcement, DOI makes the following recommendations:
                                                                  PC designate senior executive to liaise with civilian                                                                                                                      Police Commissioner has appointed the Deputy Commissioner of                      DOI Mass
                                     21b                                                                                  2. The Police Commissioner should designate and empower a single senior executive, at the Deputy Commissioner                                                                          Complete
                                                                  oversight agencies                                                                                                                                                         Legal Matters to fulfill this role.                                               Demonstration Report
                                                                                                                          level, to be responsible and accountable for providing civilian oversight agencies with the access to records that
                                                                                                                          the law requires.
                       Draft: Pre‐decisional and deliberative
                       *Futher recommendations from the Law Department are currently being assessed by the NYPD.                                                                                                                                                                                                                                  Page 3 of 3
